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                                        UNITED STATES DISTRICT COURT
                                             DISTRICT OF MARYLAND
                                           101 W. LOMBARD STREET
                                         BALTIMORE, MARYLAND 21201
         Chambers of
  Hon. Marvin J. Garbis
United States District Judge
                                  January 2, 2018
ALL COUNSEL OF RECORD

               Re:     United States v. Martin, MJG-17-0069

Dear Counsel:

        This is to confirm, as stated at the conference held this date:

        1.       On January 8, 2018, Defendant shall file a letter including
                 its version of the statement of facts as to Count One of
                 the Indictment.

        2.       Defendant Martin intends to plead guilty to Count One on
                 January 22, 2018 at 10:00 A.M.

        3.       Defendant Martin expects to file a CIPA § 4 submission on
                 January 26, 2018.

        4.       The Government shall make an ex parte presentation
                 regarding its contentions and its pending CIPA § 4 motion
                 in an on-the-record sealed proceeding on February 1, 2018
                 commencing at 10:00 A.M.

        5.       Defendant Martin shall make an ex parte presentation
                 regarding its contentions and its forthcoming CIPA § 4
                 submission in an on-the-record sealed proceeding at a time
                 to be scheduled by further Order.

     Although in letter form, this document constitutes an Order and
shall be docketed as such by the Clerk.

                                         Yours truly,

                                                    /s/___   __ _
                                              Marvin J. Garbis
                                         United States District Judge
